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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 US DOMINION, INC., DOMINION                        )
 VOTING SYSTEMS, INC., and DOMINION                 )
 VOTING SYSTEMS CORPORATION,                        )   Civil Action No. 1:21-cv-02131 (CJN)
                                                    )
         Plaintiffs,                                )
                                                    )   Judge Carl J. Nichols
             v.                                     )
                                                    )
 PATRICK BYRNE,                                     )   JURY TRIAL DEMANDED
                                                    )
        Defendant.                                  )
                                                    )

DECLARATION OF DAVIDA BROOK IN SUPPORT OF DOMINION’S EMERGENCY
    MOTION FOR PROTECTIVE RELIEF AND TO DISQUALIFY COUNSEL

I, Davida Brook, hereby declare and state as follows:

        1.        I am an attorney at Susman Godfrey L.L.P., and counsel for plaintiffs, Dominion,

in the above-captioned action. I am a member in good standing with the bar of the State of

California and am admitted to practice in this Court. I am over the age of eighteen, attest to the

following matters from personal knowledge, and if called as a witness, could competently testify

to the matters set forth herein.

        2.        Attached hereto as Exhibit 23 is a true and correct copy of a post by the account

@SheriffLeaf from the social media website “X” dated March 17, 2024, accessed and saved on

March 22, 2024.

        3.        Attached hereto as Exhibit 24 is a true and correct copy of a post by the account

@SheriffLeaf from the social media website “X” dated March 17, 2024, accessed and saved on

March 22, 2024.
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       4.     Attached hereto as Exhibit 25 are true and correct copies of 37 posts by the account

@SheriffLeaf from the social media website “X”, listed in chronological order and dated March

18, 2024 between the hours of 10:22 AM and 12:13 PM, accessed and saved on March 22, 2024.

       5.     Attached hereto as Exhibit 26 is a true and correct copy of a post by Stefanie

Lambert (“@AttyStefLambert”) on the social media website “X,” dated March 18, 2024, accessed

and saved on March 22, 2024.

       6.     Attached hereto as Exhibit 27 is a true and correct copy of a post by Patrick Byrne

(“@PatrickByrne”) on the social media website “X” dated March 18, 2024, accessed and saved on

March 22, 2024.

       7.     Attached hereto as Exhibit 28 is a true and correct copy of a post by Patrick Byrne

(“@PatrickByrne”) on the social media website “X” dated March 18, 2024, accessed and saved on

March 22, 2024.

       8.     Attached hereto as Exhibit 29 is a true and correct copy of a post by Patrick Byrne

(“@PatrickByrne”) on the social media website “X” dated March 18, 2024, accessed and saved on

March 22, 2024.

       9.     Attached hereto as Exhibit 30 is a true and correct copy of a post by Patrick Byrne

(“@PatrickByrne”) on the social media website “X” dated March 18, 2024, accessed and saved on

March 22, 2024.

       10.    Attached hereto as Exhibit 31 is a true and correct copy of a post by Tina Peters

(“@realtinapeters”) and retweeted by Patrick Byrne (“@PatrickByrne”) on the social media

website “X” March 19, 2024, accessed and saved on March 22, 2024.
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       11.     Attached hereto as Exhibit 32 is a true and correct copy of a post by Patrick Byrne

(“@PatrickByrne”) on the social media website “X” dated March 19, 2024, accessed and saved on

March 22, 2024.

       12.     Attached hereto as Exhibit 33 is a true and correct copy of a post from the social

media website “X” dated March 22, 2024, with the poster’s name redacted, which was re-shared

by Patrick Byrne (“@PatrickByrne”). This post was accessed and saved on March 22, 2024.

       13.     Attached hereto as Exhibit 34 is a true and correct copy of a post from the social

media website “X” with the poster’s name redacted, which was re-shared by Patrick Byrne

(“@PatrickByrne”). March 22, 2024This post was accessed and saved on March 22, 2024.

       14.     Attached hereto as Exhibit 35 is a true and correct copy of a post by Michael Flynn

(“@GenFlynn”) on the social media website “X” dated March 18, 2024, accessed and saved on

March 22, 2024.

       15.     Attached hereto as Exhibit 36 is a true and correct copy of a post by Election

Integrity Force (“@Real_EIF”) on the social media website “X” dated March 18, 2024, accessed

and saved on March 22, 2024.

       16.     Attached hereto as Exhibit 37 is a true and correct copy of a post from the social

media website “X” dated March 19, 2024, accessed and saved on March 22, 2024, with the posters’

names redacted.

       17.     Attached hereto as Exhibit 38 is a true and correct copy of a post from the social

media website “X” dated March 18, 2024, accessed and saved on March 22, 2024, with the posters’

names redacted. Personal Identifying Information of a Dominion employee has also been redacted

from this exhibit.
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       18.     Attached hereto as Exhibit 39 is a true and correct copy of a post from the social

media website “X” dated March 20, 2024, accessed and saved on March 22, 2024, with the posters’

names redacted.

       19.     Attached hereto as Exhibit 40 is a true and correct copy of a post from the social

media website “X” dated March 19, 2024, accessed and saved on March 22, 2024, with the posters’

names redacted.

       I declare under penalty of perjury under the laws of the United States that the foregoing is

true and correct.

       Signed this 22nd day of March, 2024, at Los Angeles, California.

                                                                /s/Davida Brook
                                                                Davida Brook
